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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Civil Action No. 10-cv-01031-MSK-BNB

  SHELLY GOMEZ,

  Plaintiff,

  v.

  PORTFOLIO RECOVERY ASSOCIATES, LLC, a Delaware limited liability company,

  Defendant.
  ______________________________________________________________________________

                                   MINUTE ORDER
  ______________________________________________________________________________
  Minute Order Entered by Magistrate Judge Boyd N. Boland

         Pursuant to the filing of the Notice of Settlement [document 17, filed July 15, 2010], it
  has come to the attention of the Court that this matter has been resolved.

         IT IS ORDERED that the parties shall file a stipulation or motion to dismiss with
  prejudice, pursuant to Fed.R.Civ.P. 41(a) on or before July 23, 2010, or a status report
  addressing why dismissal has not been accomplished.

         IT IS FURTHER ORDERED that all future hearings set before Magistrate Judge Boland
  are vacated.



  DATED: July 16, 2010
